                                     1:17-cv-01227-JBM # 62         Page 1 of 1
                                                                                                          E-FILED
Judgment in a Civil Case (02/11)                                             Wednesday, 22 July, 2020 02:19:45 PM
                                                                                    Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                                                     for the
                                            Central District of Illinois

Travis Campbell                                      )
                                                     )
                    Plaintiff,                       )
                                                     )
                               vs.                   )        Case Number: 17-1227
                                                     )
Michael Melvin, Susan Prentice,                      )
Adrian Corley, Christopher Brubaker,                 )
Joshua Davis, Anton Frazier.                         )
                                                     )
                    Defendants.                      )

                                        JUDGMENT IN A CIVIL CASE

  ☐ JURY VERDICT. This action came before the Court for a trial by jury.                   The issues
have been tried and the jury has rendered its verdict.

  ☒ DECISION BY THE COURT.                        This action came before the Court, and a decision has
been rendered.

     IT IS ORDERED AND ADJUDGED that Plaintiff Travis Campbell’s action against
Defendants Michael Melvin, Susan Prentice, Adrian Corley, Christopher Brubaker, Joshua Davis
and Anton Frazier is dismissed without prejudice.

Dated:        7/22/2020

                                                              s/ Shig Yasunaga
                                                              Shig Yasunaga
                                                              Clerk, U.S. District Court
